                                   Case 3:11-cv-01814-RS Document 42 Filed 05/09/17 Page 1 of 2
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ATTORNEY OR PARTY WITHOUT ATTORNEY:                            STATE BAR NO.:   122155                                    FOR COURT USE ONLY

NAME:   Mark A. Serlin
FIRM NAME: SERLIN & WHITEFORD, LLP
STREET ADDRESS: 700 E Street
CITY: Sacramento                                            STATE:    CA    ZIP CODE: 95814
TELEPHONE NO.: (916) 446-0790                              FAX NO.:   (916) 446-0791
E-MAIL ADDRESS: mserlin@globelaw.com
ATTORNEY FOR (name): Crystal Lei

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  STREET ADDRESS:  450 Golden Gate Avenue
  MAILING ADDRESS: 450 Golden Gate Avenue
CITY AND ZIP CODE: San Francisco, CA 94102
    BRANCH NAME: Northern District of California

   PLAINTIFF Demas Yan

 DEFENDANT         Tony Fu, et al.

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1.   TO (name): Demas Yan
2.   YOU ARE ORDERED TO APPEAR personally before this court, or before a referee appointed by the court, to
     a. x furnish information to aid in enforcement of a money judgment against you.
     b.     answer concerning property of the judgment debtor in your possession or control or concerning a debt you owe the
            judgment debtor.
     c.     answer concerning property of the defendant in your possession or control or concerning a debt you owe the defendant
            that is subject to attachment.
 Date: June 27, 2017                              Time: 9:00 a.m.               Dept. or Div.: Courtroom F Rm.: 15th Floor
 Address of court           x      is shown above       is:
3.    This order may be served by a sheriff, marshal, registered process server, RU the
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                                                                                            ow ng specially appointed
                                                                                        following           app
                                                                                                              pointed person (name):
                                                                                                                             (name


Date:      May 9, 2017
                                                                                                                    JUDGE
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4.      x Original judgment creditor                 Assignee of record            Plaintiff who has a right to attach order
      applies for an order requiring (name): Demas Yan
      to appear and furnish information to aid in enforcement of the money judgment or to answer concerning property or debt.
5.    The person to be examined is
      a. x the judgment debtor.
      b.       a third person (1) who has possession or control of property belonging to the judgment debtor or the defendant or (2) who
               owes the judgment debtor or the defendant more than $250. An affidavit supporting this application under Code of Civil
               Procedure section 491.110 or 708.120 is attached.
6.    The person to be examined resides or has a place of business in this county or within 150 miles of the place of examination.
7.          This court isQRW the court in which the money judgment is entered or (attachment only) the court that issued the writ of
            attachment. An affidavit supporting an application under Code of Civil Procedure section 491.150 or 708.160 is attached.
8.         The judgment debtor has been examined within the past 120 days. An affidavit showing good cause for another examination
           is attached.
I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: May ___, 5      2017
  Mark A. Serlin                                                                               /s/ Mark A. Serlin
                                 (TYPE OR PRINT NAME)                                                    (SIGNATURE OF DECLARANT)
                                                                      (Continued on reverse)                                                            3DJHRI
Form Adopted for Mandatory Use                           $33/,&$7,21$1'25'(5)25                                                          Code of Civil Procedure,
Judicial Council of California                                                                                                §§ 491.110, 708.110, 708.120, 708.170
AT-138/EJ-125 [Rev. January 1, 2017]                    $33($5$1&($1'(;$0,1$7,21                                                               www.courts.ca.gov
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 If you want to be able to ask the court to enforce the order on the judgment debtor or any third party, you
 must have a copy of the order personally served on the judgment debtor by a sheriff, marshal, registered
 process server, or the person appointed in item 3 of the order at least 10 calendar days before the date of
 the hearing, and have a proof of service filed with the court.

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                Request for Accommodations. Assistive listening systems, computer-assisted real-time captioning, or sign
                language interpreter services are available if you ask at least 5 days before your hearing. Contact the clerk’s
                office for Request for Accommodation (form MC-410). (Civil Code, § 54.8.)
AT-138/EJ-125 [Rev. January 1, 2017]                 $33/,&$7,21$1'25'(5)25                                             3DJHRI
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